                        Case 1:21-cr-00085-CRC Document 131-2 Filed 05/25/23
                                                                       Page 1 of Page
                                                                                 3    1 of 3

                                                                                                       Processing Month:              10-22              9335
               TRANSACTION SERVICES
               2727 PACES FERRY RD BLDG 1, STE 750                                                     Association Number:            030040
               ATLANTA, GA 30339
                                                                                                       Merchant Number:               xxxxxxxxxxx8720
                                                                                                       Routing Number:

                                                                                                       Deposit Account Number:




               JOHN STRAND                                                                             Amount Deducted:
               JOHN STRAND                                                                             $ 91.86




                                                                   Plan Summary
Plan      Number of      Amount of    Number of        Amount of                   Net           Average                Disc          Disc            Discount
Code         Sales          Sales       Credits          Credits                 Sales             Ticket                P/I            %                 Due
VS                 14      660.00           00              .00              660.00                47.14           0.10000         0.3000                3.38
VD                 12      375.00           00              .00              375.00                31.25           0.10000         0.3000                2.33
VB                 01       25.00           00              .00               25.00                25.00           0.10000         0.3000                 .18
V$                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
VL                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
MC                 06      136.00           00              .00              136.00                22.67           0.10000         0.3000                1.01
MD                 03       37.00           00              .00               37.00                12.33           0.10000         0.3000                 .41
MB                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
M$                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
ML                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
AM                 04      107.00           00              .00              107.00                26.75           0.10000         0.3000                 .72
DS                 03       90.00           00              .00               90.00                30.00           0.10000         0.3000                 .57
DD                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
DZ                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
D$                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
DJ                 00         .00           00              .00                 .00                  .00           0.10000         0.3000                 .00
**                 43    1,430.00           00              .00            1,430.00                33.26                                                 8.60


                                                                      Deposits
       Reference          Tran Plan        Number of          Amount of            Amount of                Discount
Day    Number             Code Code           Sales              Sales               Credits                    Paid              Non Settled           Settled
03     90001200217        D     T                 01            25.00                    .00                    .00                      .00            25.00
03     90001180213        D     T                 07           190.00                    .00                    .00                      .00           190.00
03     90001190215        D     T                 02            50.00                    .00                    .00                      .00            50.00
04     90001210219        D     T                 02           300.00                    .00                    .00                      .00           300.00
05     90001220221        D     T                 02           125.00                    .00                    .00                      .00           125.00
06     90001230222        D     T                 01            25.00                    .00                    .00                      .00            25.00
10     90001250224        D     T                 01            25.00                    .00                    .00                      .00            25.00
10     90001240223        D     T                 01            50.00                    .00                    .00                      .00            50.00
11     90001260225        D     T                 01            10.00                    .00                    .00                      .00            10.00
12     90001270226        D     T                 01            25.00                    .00                    .00                      .00            25.00
13     90001280230        D     T                 04           185.00                    .00                    .00                      .00           185.00
14     90001290244        D     T                 07            58.00                    .00                    .00                      .00            58.00
17     90001300248        D     T                 02            40.00                    .00                    .00                      .00            40.00
17     90001310250        D     T                 01             5.00                    .00                    .00                      .00             5.00
19     90001320255        D     T                 02            55.00                    .00                    .00                      .00            55.00
21     90001330261        D     T                 02            52.00                    .00                    .00                      .00            52.00
24     90001350264        D     T                 02            75.00                    .00                    .00                      .00            75.00
24     90001340262        D     T                 01            50.00                    .00                    .00                      .00            50.00
25     90001360266        D     T                 01            10.00                    .00                    .00                      .00            10.00
26     90001370267        D     T                 01            50.00                    .00                    .00                      .00            50.00
27     90001380268        D     T                 01            25.00                    .00                    .00                      .00            25.00
       Deposit Totals                             43         1,430.00                    .00                    .00                                  1,430.00



                                                       PLAN CODES                                                                   TRANSACTION CODES
VS -VISA                MC -MASTERCARD                   DS -DISCOVER                JC -JCB      DB -DEBIT       T -ALL PLANS      D -DEPOSIT
VL -VISA LARGE TICKET   ML -MASTERCARD LARGE TICKET      DD - DISCOVER DEBIT         EB -EBT      PP -PAYPAL      1 -PLAN ONE       C -CHARGEBACK
VD -VISA DEBIT          MD -MASTERCARD DEBIT             DZ -DISCOVER BUSINESS       AM -AMERICAN EXPRESS         2 -PLAN TW O      A -ADJUSTMENT
VB -VISA BUSINESS       MB -MASTERCARD BUSINESS          DJ -DISCOVER JCB            EC -ELECTRONIC CHECK         3 -PLAN THREE     B -CHARGEBACK REVERSAL
V$ -VISA CASH ADVANCE   M$ -MASTERCARD CASH ADVANCE      D$ -DISCOVER CASH ADV       AC -ACH as a Tran
                      Case 1:21-cr-00085-CRC Document 131-2 Filed 05/25/23
                                                                     Page 2 of Page
                                                                               3    2 of 3




                                                                      Fees
    Count            Amount     Rate %    Rate Per Item Description                                                        Fees Paid     Total

AUTHORIZATION FEES:
     08                                       0.10000 Authorization Amex                                                          .00     .80
     57                                       0.10000 Authorization                                                               .00    5.70
                                                                                                            Total Authorization Fees:    6.50
INTERCHANGE FEES / AMERICAN EXPRESS PROGRAM FEES:
     01             15.00 1.6500     0.15000 VS CPS CNP Debit                                                                  .00        .40
     03            175.00 1.6500     0.15000 VS CPS eComm Basic Debit                                                          .00       3.34
     01             25.00 2.6500     0.10000 VS Business Tr1 Prod 1                                                            .00        .76
     01             50.00 2.0400     0.10000 VS VTR Product 1                                                                  .00       1.12
     06            140.00 2.0500     0.10000 VS VIN Product 1                                                                  .00       3.48
     05            120.00 2.5000     0.10000 VS VSP VIQ Product 1                                                              .00       3.52
     02            350.00 2.4000     0.10000 VS VSP VIQ Services Non Token                                                     .00       8.60
     07            135.00 0.0500     0.22000 VS US Regulated Debit                                                             .00       1.60
     01             50.00 1.7500     0.20000 VS CPS eComm Basic Pp                                                             .00       1.08
     01             10.00 2.6500     0.10000 MC Corporate Data Rate 1                                                          .00        .37
     02             27.00 1.6500     0.15000 MC Merit I Debit                                                                  .00        .74
     01             25.00 2.1000     0.10000 MC Enhanced Merit I                                                               .00        .63
     01             25.00 2.2000     0.10000 MC World Merit I                                                                  .00        .65
     02             75.00 2.6000     0.10000 MC World Elite Merit I                                                            .00       2.15
     01              5.00 2.6000     0.02000 MC World Elite Small Ticket Card Not Present                                      .00        .15
     01              6.00 2.6000     0.10000 MC High Value Merit I                                                             .00        .26
     04            107.00 1.6500     0.10000 AM B2B/Wholesale Tier 1                                                           .00       2.17
     02             70.00 2.0300     0.10000 DS e-Commerce Rewards                                                             .00       1.63
     01             20.00 2.0500     0.10000 DS e-Commerce Premium                                                             .00        .51
                                                                         Total Interchange Fees / American Express Program Fees:        33.16
TRANSACTION FEES:
     21                              0.15000 Batch Fee                                                                         .00       3.15
                                                                                                           Total Transaction Fees:       3.15
CARD BRAND FEES:
     18                              0.01950 VS-NAPF-Credit                                                                    .00        .35
     02                              0.03500 VS-VSDOMACCTVERICR                                                                .00        .07
     06                              0.03000 VS-VSDOMACCTVERIDB                                                                .00        .18
     21                              0.01550 VS-NAPF-Debit                                                                     .00        .33
     29                              0.00100 VS-Visa US AVS                                                                    .00        .03
     15            685.00 0.1400             VS-ASSMNT CREDIT                                                                  .00        .99
     12            375.00 0.1300             VS-ASSMNT DEBIT                                                                   .00        .51
     27          1,060.00            0.00180 VS-VS TRANSMFEE                                                                   .00        .05
     09            173.00 0.1300             MC-ACQ Brand Volume                                                               .00        .22
     09            173.00 0.0125             MC-MC Acq Licn Fee                                                                .00        .02
     14                              0.01950 MC-NABU Auth                                                                      .00        .27
     14                              0.00070 MC-MC Sfe Nt Aq Fee                                                               .00        .01
     13            173.00 0.0200             MC-DIGITAL ENBLMT                                                                 .00        .26
     04            107.00            0.02000 AM-Amex AcqTransFee                                                               .00        .08
     04            107.00 0.3000             AM-Non-Swiped Tr                                                                  .00        .33
     04            107.00 0.1650             AM-AM USASSMNTFEE                                                                 .00        .17
     03             90.00 0.1400             DS-DS Assessment                                                                  .00        .13
     04                              0.00500 DS-DS AVS                                                                         .00        .02
     01                              0.02000 DS-DS Acct Ver Fee                                                                .00        .02
                         Case 1:21-cr-00085-CRC Document 131-2 Filed 05/25/23
                                                                        Page 3 of Page
                                                                                  3    3 of 3


               TRANSACTION SERVICES
                                                                                                               Processing Month:            10-22              9335
               2727 PACES FERRY RD BLDG 1, STE 750
               ATLANTA, GA 30339                                                                               Association Number:          030040
                                                                                                               Merchant Number:             xxxxxxxxxxx8720
                                                                                                               Routing Number:

                                                                                                               Deposit Account Number:




               JOHN STRAND
               JOHN STRAND                                                                                     Amount Deducted:
                                                                                                               $ 91.86




                                                                          Fees - continued
     Count              Amount     Rate %     Rate Per Item Description                                                                        Fees Paid           Total

CARD BRAND FEES:
     03           90.00                          0.00250 DS-DISC Data Usage                                                                         .00             .01
     03           90.00           0.0100                 DS-DS Dig Invt Fee                                                                         .00             .01
     04                                          0.01900 DS-DS Ntwk Auth Fee                                                                        .00             .08
     04          107.00           0.1500                 Amex Program Fee                                                                           .00             .16
                                                                                                                                 Total Card Brand Fees:            4.30
OTHER FEES:
                                                10.00000 Statement Fee                                                                               .00       10.00
                                                10.00000 Pci Compliance Fee                                                                          .00       10.00
                                                 1.25000 MasterCard Location Fee                                                                     .00        1.25
                                                 9.00000 VISA FANF SEP 2022 PASS-THRU                                                                .00        9.00
       59                                        0.10000 Avs Fee                                                                                     .00        5.90
                                                                                                                                       Total Other Fees:       36.15
                                                                                                                                       Total Fees Due:         83.26



                                                 Discount Due                                                  8.60
                                                 Fees Due                                                     83.26
                                                 Amount Deducted                                              91.86




                                                           PLAN CODES                                                                     TRANSACTION CODES
VS -VISA                  MC -MASTERCARD                     DS -DISCOVER                    JC -JCB      DB -DEBIT    T -ALL PLANS       D -DEPOSIT
VL -VISA LARGE TICKET     ML -MASTERCARD LARGE TICKET        DD - DISCOVER DEBIT             EB -EBT      PP -PAYPAL   1 -PLAN ONE        C -CHARGEBACK
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V$ -VISA CASH ADVANCE     M$ -MASTERCARD CASH ADVANCE        D$ -DISCOVER CASH ADV           AC -ACH as a Tran
